
Per Curiam.
Ice Legal, P.A. appeals a $ 1,000 sanction imposed against it for litigation misconduct. We reverse the sanction because the order to show cause setting a hearing on the sanction was directed to an individual attorney, not to Ice Legal, P.A. The order indicated that copies were provided to the attorney and to opposing counsel, but contained no address for service. Not properly put on notice of a potential sanction against it, the law firm did not appear at the sanction hearing. "Florida has consistently required notice and an opportunity to be heard before sanctions are imposed upon counsel."
*210Clare v. Coleman (Parent) Holdings, Inc. , 928 So.2d 1246, 1249 (Fla. 4th DCA 2006).
Reversed and remanded .
Gross, Conner and Forst, JJ., concur.
